Case 1:03-cr-01368-ARR   Document 279   Filed 08/08/05   Page 1 of 6 PageID #: 611
Case 1:03-cr-01368-ARR   Document 279   Filed 08/08/05   Page 2 of 6 PageID #: 612
Case 1:03-cr-01368-ARR   Document 279   Filed 08/08/05   Page 3 of 6 PageID #: 613
Case 1:03-cr-01368-ARR   Document 279   Filed 08/08/05   Page 4 of 6 PageID #: 614
Case 1:03-cr-01368-ARR   Document 279   Filed 08/08/05   Page 5 of 6 PageID #: 615
Case 1:03-cr-01368-ARR   Document 279   Filed 08/08/05   Page 6 of 6 PageID #: 616
